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Exhibit 8
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1. UNITED STATES DISTRICT COURT L
DISTRICT OF MASSACHUSETTS
2
3

 

)
4 In re: NEURONTIN MARKETING, )
SALES PRACTICES, AND PRODUCTS)

 

5 LIABILITY LITIGATION, )

; )

7 VOLUME II

8

9 CONTINUED VIDEOTAPED DEPOSITION OF
10 RONALD Wm. MARIS, Ph.D.
11 (Taken by Defendant)

12 Columbia, South Carolina

13 Tuesday, September 30, 2008
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22
23
24 Reported in Stenotype by

V. Dario Stanziola, CSR, RPR, CRR

25 Transcript produced by computer-aided transcription

 

   

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Page 342 Page 344 F
1 the record. 1 This is not a significant difference, so
2 Q. Right. But it's not in your report, right? 2 there's no difference. E
3 A. That's because I didn't come across it. 3 MS. McGRODER: Object and move to strike. F
4 I looked as hard as I could and found what I found. 4 Q. My question wasn't whether they were E
5 I didn't consciously find something and leave it 5 _ significant, whether the difference was significant.
6 out. 6 My question was is the number 1.7 percent, that ff
7 Q. Now, if you combined the data from the 7 incidence is higher in placebo than on Neurontin 1.5 :
8 epilepsy and the neuropathic pain studies, are you 8 percent? :
9 aware that, again, the incidence of depression is 9 MR. SOH: Dr. Maris, wait a second.
10 reported as higher on placebo than in patients taking | 10 Lori, is this a PowerPoint that you put
1i Neurontin? 11 together from the Daubert hearing you're
12 A. That would just make sense from what 12 using?
13 you've just shown me. 13 MS. McGRODER: Absolutely. This was
14 (Exhibit 24; A document entitled Rates Of 14 admitted into evidence at the Daubert hearing.
15 Depression Reported As An Adverse Event In 15 MR. SOH: I would like for -- Dr. Maris,
16 Neurontin Placebo-Controlied Neuropathy And 16 would you like to see -- are you comfortable
17 Epilepsy Clinical Trials marked for 17 using a PowerPoint --
18 identification, as of this date.) 18 THE WITNESS: I was wondering where this
19 Q. I'm going to show you what.we've marked as | 19 came from.
20 Exhibit 24 to your deposition, and this is based on 20 MR. SOH: -- or do you want to look at
21. the FDA's clinical review that we just looked at. 21 the actual original documents?
22 And if you see in the depression column, it 22 THE WITNESS: Yeah, I have some clinical
23 ‘reports -- this is a chart that reports the exact 23 reviews, but I don't have this.
24 same information we just pulled out of table 7.20, 24 Q. Well, the actual -- Dr. Maris, the actual
25 correct? 25 original document is Exhibit 23 that we just marked §
Page 343 Page 345 |
1 A. Yes, it is. 1 to your deposition, correct?
2 MS. McGRODER: Oh, I'm sorry. 2 These are the exact same data reported in
3 Q. And the title of this exhibit is rates of 3 this document.
4 depression reported as an adverse event in Neurontin | 4 MR. SOH: I just wanted to make it clear
5 placebo controlled neuropathy and epilepsy clinical 5 -- I just wanted to clarify for the record
6 trials, correct? 6 what you were using.
7 A. Correct. » 7 MS. McGRODER: Well, I think I said that
8 Q. And if you combine the incidence reported 8 when I asked the question. I think it was
9 for depression on gabapentin in both the neuropathy | 9 clear.
10 and the epilepsy studies for Neurontin, you get an 10 A. My question is where is the FDA clinical
11. incidence of 1.5 percent, correct? 11 review?
12 A. You do. 12 Q. This is the FDA clinical --
13 Q. And if you combine the placebo numbers, the j 13 A. That's it, two pages?
14 incidence is 1.7 percent, correct? 14 Q. No, this is the extracted document.
15 A. Right. i5 Do you knew how many pages the FDA clinical |,
16 Q. So the incidence on placebo, when you 16 review is?
17 combine the data from all studies, shows that the -- | 17 A. Well, I've got one here. I'd like to see
18 the risk of depression was higher on placebo than in |18 the whole one.
19 Neurontin? 19 Q. No, that is not the clinical review, Dr.
20 A. No, no, no. What it shows is there's no 20 Maris.
21 = difference. You can't have it both ways. You 21 A. That's right. But it is a clinical
22 can't say nonsignificant differences are 22 ~=review.
23 significant when you want to use them, and when I 23 Q. Hand me that, please.
24 want to use them, you say you can't do that because | 24 A. Itis a clinical review.
25 they're not significant. 25 Q. Hand me that, please.

 

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